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                                                                No. 09-869 C
                                                            Filed: April 10,2015
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                                                                                                        APR   10   2015
BENJAMIN GAL-OR, DR. VALERY
SHERBAUM, and DR. MICHAEL                                                                            r8irtE*"oor'8lf&
LICHTSINDER,

       Plaintiffs, pro se,                                                       RCFC 41(b) (Failure To Prosecute or
                                                                                   to Comply With Court Orders).


THE LTNITED STATES,

       Defendant.

************    *<   * *,t *   rr   * * * *,* * * * * * * * * *   t(   ***   *

                                                    ORDERDISMISSING CASE

       This pro se case was filed in the United States Court of Federal Claims on December 16,
2009, alleging "unjust enrichment," "eminent domain and/or easement," and "intellectual property
law" claims. On February 28,2011, the firstjudge assigned to this case issued an Order dismissing
the Complaint for the following reasons: lack ofsubject matterjurisdiction over the takings claims;
the patent claims were untimely; and as for the timely patent claims, Mr. Gal-Or, the original
Plaintifi did not have standing to sue, because the Complaint, as amended, failed to join the co-
owners ofthe patent in suit. See Gal-Or v. United States,97 Fed. CI.476,478 (2011). Plaintiffs
appealed.

        On February 9,2012, the United States Court of Appeals for the Federal Circuit affirmed
the court's patent infringement decision, except for the patent claim relating to the production of
drone aircraft in 2005, and vacated and remanded the case for the trial court to determine whether
Plaintiffs' takings claim was timely and whether the co-inventors must be joined in this suit. See
Gal-Or v. United States, 470 Fed. App'x 879, 883-85 (Fed. Cir.2012).

         On July 2, 2012, the couft issued an Order joining Drs. Sherbaum and Lichtsinder as
plaintiffs in the remaining patent infringement cases; they expressly declined to join the trade
secret claim. Dkt. No. 37.

        On September 6,2012, Plaintiff filed a Motion requesting that the Chief Judge reassign
this case. Dkt. No. 39. On September 18,2012, Plaintiffs filed another Motion for Reassignment
and a Motion for "Relief From Immunity By Determining Sanction Motions." Dkt. No. 42. On
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October 2,2012, this case was assigned to another judge of the United States Court of Federal
Claims, pursuant to RCFC 40.1. Dkt. No. 44.

      On January 14, 2013, Plaintiffs filed a Motion for Reconsideration of Dkt. 44 and a "Relief
Motion From Immunity Against Rules 11 and 83.2 as submitted to CFC Standing Panel." Dkt.
No. 47. On January 14,2013,Pluntiffs also filed a "Response to,/Reconsideration-ln-Part Motion
of Order 46, pursuant to Rule 46 and/or 60(b)."

        On March 13,2013, Plaintiffs frled a "Response to Dismiss CFC-38 and CFC-50," with
the Chief Judge. On March 21,2013, the court issued an Order denying an August 15,2012
Motion to Dismiss by the Govemment, because the Plaintiffs, as citizens of foreign nations, were
required to provide evidence of "reciprocity" under 28 U.S.C. $ 2502(a). In addition, the court
denied Plaintiffs' January 14,2013 Motion for Reconsideration of the court's October 2,2012
reassignment ofthe case and setting ofa briefing schedule requiring Plaintiffs to identify by April
15,2013 "with specificity the 25 timely confidentially maintained trade secrets that they assert are
the basis for the takings claims," together with related information. Dkt. No. 53.

       On   April 16,2013, this   case was reassigned to the undersigned judge.

      On April 17,2013, Plaintiffs filed a "Re-Assignment Motion, AND Deny CFC-38/50
Motion AND Brief Ordered By CFC-53." Dkt. No. 56.

       On November 21,2013, the court issued a Memorandum Opinion and Order granting-in-
part and denying-in-part the Govemment's August 15, 2012 Motion To Dismiss. See Gql-
or v. united stares, 113 Fed. cl. 540 (2013).

        Therein, the court denied the Govemment's August 15,2012 Motion to Dismiss for failure
to satisfy to reciprocity requirements of 28 U.S.C. $ 2502(a), but granted the Motion dismissing
the ffade secret claims alleged in the August 2, 2010 Amended Complaint. The claim for
infringement of the '431 patent because of the Govemment's 2005 alleged use in a Joint-
Controlled Aircraft Recovery project was not dismissed.

       On December 6,2013, Plaintiffs filed a Notice of Appeal. On June 12,2014, the United
                                     Circuit dismissed that Notice. Dkt. No. 62.
States Court of Appeals for the Federal

      On June 20, 2014, Plaintiffs filed a Motion for the court to reconsider the court's November
21,2013 Memorandum Opinion and Order. Dkt. No. 63.

        Because Plaintiffs v,tere pro se, and the case concerned patent claims, on July 14,2014,the
court issued an Order directing the Clerk to provide Plaintiffs with a list of attorneys admitted to
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the bar of the United States Court of Federal Claims who had agreed to handle pro se cases. The
Order specifically contained the following disclaimer:

        The court provides this list solely for Mr. Gal-Or's reference. This list does not
        constitute a recommendation on the part of the court and Mr, Gal-Or is under no
        obligation to contract any ofthese attomeys.

Order, Dkt. No. 64.

        On August 4, 2014, Plaintiffs filed a Second Amended Complaint and Motion to Reassign
the case, stating:

        S. Braden, contacted  plaintiffby email to immediately give up his almost 5-YEARS
        solid litigation as PRO SE, . . . and be immediately replaced by HER SELECTED
        specific PATENT ATTORNEY, whom she had contacted earlier, and who agreed
        to so immediately replace plaintiffin this CFC case 09-869. [In addition,] 3rdjudge
        Braden has deliberate resorted to about 18 hostile mooting ofkey filed evidence in
        her 18 Clear Errors in CFC-59 Order-Rulings, which are mostly hostile-mooting of
        filed evidence that diametrically contradicts her said rulings . . . In addition, said
        replacement emails sent to plaintiffs email by her legal assist, were next totally
        removed from plaintiff s sole galorbenjamin@gmail.com email before he was able
        to copy them into this Motion.

Dkt. No. 65.

        On August 18,2014, the Govemment filed an Opposition to Plaintiffs' August 14, 2014
"Amended Complaint II and Reassignment Motion." Dkt. No. 66. On August 26, 2014, the court
filed an Order requesting a Joint Status Report and Schedule on or before September 30,2014.

        On August 2'l,2014, Plaintiffs frled an"En Banc Svmmaly Judgment         Motion." Dkt. No.
68.

       On September 30, 2014, the Govemment filed a Status Report, together with a proposed
schedule for a claim construction hearing "as soon as practicable after April 20, 2015," together
with emails evidencing unsuccessful efforts to communicate with Plaintiffs.

      On October 1,2014, the Govemment filed a Response to Plaintiffs' Alglust 27,2014
MotionFor En Banc Summary Judgment.

       On October 14,2014, the court entered a Scheduling Order in this case. By January 19,
2015, Plaintiffs were required to serve on the Government and file with the court claim charts for
each asserted claim of U.S. Patent No. 5.782.$l.l


        I It has
                 come to the court's attention that as a result
                                                       ofa clerical error in the Clerk's Office,
this October 14,2014 Scheduling Order was not properly filed into the docket of this case. This
enor is harmless, however, because the requirement for Plaintiffs to frle claim charts for each
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       On November 10,2014, Plaintiffs filed a Motion for Sanctions and a new       trial. Dkt. No.
72.

       On November 12, 2014, the court ordered that the Clerk of Court file Plaintiffs' October
17,2014 Motion as a Reply to the Govemment's October 7, 2014 Response to Plaintiffs' August
1, 2014 Motion For En Banc Summary Judgment. Dkt. No. 73.


      On November 12,2014, Plaintiffs filed a Reply to the Government's October 2, 2014
Response. Dkt. No. 74.

      On December 2,2014, the Government filed an Opposition To Plaintiffs' November 10,
2014 Motions for Sanctions and a Motion for aNew Trial. Dkt. No. 75.

      On December 17,2014, Plaintiffs filed a Reply to the Govemment's December 2, 2014
Opposition. Dkt. No. 76.

        On January 29, 2015, Plaintiffs were ordered to serve on the Govemment and file with the
court claim charts for each asserted claim of U.S. Patent No. 5,782,431. Dkt. No. 77. The January
29,2015 Order To Show Cause stated:

       This litigation cannot proceed without effective claim construction. Thus, Plaintiff
       is ordered to show cause why this case should not be dismissed in light ofhis failure
       to comply with the court's October 14, 2014 Order. Plaintiff will file a Response
       to this Order, along with his claim consffuction charts, no later than March 16,
       2015. If no Response is filed, the court will dismiss this case. ,See Rule 41(b) of
       the United States Court ofFederal Claims ("Ifthe plaintiff fails to prosecute or to
       comply with these rules or a court order, the court may dismiss on its own
       motion. . . the action[.]").

Id.

        Plaintiffs have not filed a Response to the court's January 29, 2015 Order To Show Cause,
nor have they shown cause why this case should not be dismissed. As such, given the Plaintiffs'
failure to prosecute, the Clerk of Court is directed to dismiss this case, with prejudice. See
Linkv. Ilabash R. Co., 370 U.S. 626,62910 (1962) (footnote omitted) ("The authority of a federai
trial court to dismiss a plaintiff s action with prejudice because ofhis failure to prosecute cannot
seriously be doubted. The power to invoke this sanction is necessary in order to prevent undue
delays in the disposition ofpending cases[.]").

       IT IS SO ORDERED.



                                                     Judge

asserted claim of U.S. Patent No . 5,782,431was repeated in the court's January 19,2015 Order to
Show Cause.
